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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

Confectionery Arts International, LLC,               )
                                                     )
                       Plaintiff                     )
                                                     )
               v.                                    )
                                                     )    Civil Action No. 3:17-cv-00108 KAD
                                                     )
Sunflower Sugar Art USA, Inc.,                       )
                                                     )
                       Defendant.                    )    October 31, 2018




                                    JOINT STATUS REPORT

       Pursuant to the Court’s Order on Reassigned Cases dated October 17, 2018, Plaintiff

Confectionery Arts International, LLC and Defendant Sunflower Sugar Art USA, Inc.

respectfully submit this Joint Status Report.

STATUS OF DISCOVERY
Plaintiff’s Statement:

       Plaintiff has substantially completed its production of documents to Defendant,

comprising over 10,000 pages. Plaintiff does not expect to serve Defendant with additional

document requests, interrogatories, or requests for admission. Plaintiff has noticed Defendant’s

30(b)(6) deposition and awaits scheduling of same. Plaintiff expects to serve at least one

subpoena duces tecum on a third party believed to possess relevant, discoverable information.

Plaintiff does not expect to notice any additional depositions.

Defendant’s Statement:

       Defendant has substantially completed its production of documents and responses to

interrogatories. Defendant continues to search for responsive documents to be produced to
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Plaintiff. Defendant has noticed Plaintiff’s 30(b)(6) deposition and awaits scheduling of same.

Defendant expects to serve at least one or two subpoena duces tecum on third-parties believed to

possess relevant, discoverable information.

OUTSTANDING MOTIONS

       The Parties filed a Joint Motion to Modify Scheduling Order on October 31, 2018 for the

purpose of extending the close of discovery and the time to file dispositive motions.

SETTLEMENT DISCUSSIONS AND REFERRAL TO MAGISTRATE

       The Parties briefly discussed settlement early in the litigation, but are not currently

engaged in settlement discussions.

Plaintiff’s Statement: Plaintiff is amenable to referral to a Magistrate Judge for the purpose of

settlement.

Defendant’s Statement: Defendant is not amenable to referral to a Magistrate Judge for the

purpose of settlement at this time. Defendant will reevaluate this position at the close of the

scheduling order.

TRIAL READINESS AND REFERRAL TO MAGISTRATE

       The Parties do not consent to a trial before a Magistrate Judge. The matter is not yet trial

ready. The Parties are currently near the close of fact discovery, but expect to be trial ready in

March of 2019.




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Dated: October 31, 2018                Respectfully submitted,



/s/Nike V. Agman                              /s/ N. Kane Bennett
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